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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF NEW YORK



 Jane Doe 1, Jane Doe 2,
                    Plaintiffs,

 v.
                                                  COMPLAINT & JURY DEMAND
 The Congregation of the Sacred Hearts of Jesus
 and Mary, Diocese of Fall River, Sisters of
 Charity of Montreal (“Grey Nuns”), Sisters of
                                                  Civil Action No. 23-5294
 Charity of Quebec (“Grey Nuns”), Missionary
 Oblates of Mary Immaculate Eastern Province
 (the “Oblates”), and Black and White
 Corporations 1-10,

                  Defendants.
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                                          I.       NATURE OF CLAIMS

 1.       This case is brought under the New York Child Victims Act (L. 2019, ch. 11) (“CVA”),

 New York Law.1

 2.       Plaintiffs Jane Doe 1 and Jane Doe 2 (together referred to as “Plaintiffs”), were unlawfully

 and continuously subjected to hundreds of sexual offenses—including sexual intercourse, oral

 sex, fondling, and forced sexual touching in New York—while elementary-aged boarding school

 students.

 3.       Jane Doe 1 was six (6) years old when the abuse began in 1964, and Jane Doe 2 was five

 (5) years old; the abuse continued until Plaintiffs were removed from Sacred Hearts Academy in

 1970. Plaintiffs are sisters.

 4.       The acts defined herein constitute sexual offenses as defined by New York Penal Law

 Article 130.

 5.       Defendant’s agents committed and conspired to commit heinous and continuous acts of

 child sexual abuse against Jane Does taking them directly from their home in New York, often

 picked up and driven by the Defendants employees and agents, to other locations in New York,

 and other states.

 6.       The events described herein shock the conscience; child sexual abuse can only occur on

 this systemic level due to the intentional misconduct, coverup, and gross negligence of Defendants’

 leaders and employees.

                               II.      PARTIES, JURISDICTION & VENUE



 1
  Similar abuse also occurred in Maine, and any related claims are also timely under as the acts constituted “sexual
 acts” as defined in Maine Revised statutes Title 17-A, section 251, subsection 1, paragraph C or “sexual contact” as
 defined in Maine Revised Statutes Title 17-A, section 251, subsection 1, paragraph D.


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 7.      Plaintiffs incorporate all prior paragraphs of this Complaint as if fully set forth herein.

 8.      Jane Doe 1 and Jane Doe 2 were residents of and domiciled in the State of New York when

 the acts of sexual abuse and violence were committed against them.

 9.      Today, Jane Doe 1 is a citizen of New York, and Jane Doe 2 is a citizen of Georgia.

 10.     Defendant Diocese of Fall River is a citizen of Massachusetts and maintains its primary

 place of business in the State of Massachusetts.

 11.     Defendant Congregation of the Sacred Hearts of Jesus and Mary (“Congregation of Sacred

 Hearts” also “Sacred Hearts nuns” and “Sacred Hearts priests”) is a citizen of Massachusetts and

 maintains its primary place of business in the State of Massachusetts.

 12.     Defendants Sisters of Charity of Montreal and Sisters of Charity of Quebec (together the

 “Grey Nuns”) is a foreign citizen of Canada and maintains its principal place of business in

 Canada.

 13.     Defendant Missionary Oblates of Mary Immaculate Eastern Province (the “Oblates”) is a

 citizen of and maintains its primary place of business in the District of Columbia.

 14.     On information and belief, all Defendants are being sued under either their true name or

 common/assumed names. In the event any parties are misnamed or are not included herein, it is

 Plaintiffs’ contention that such was a “misidentification,” “misnomer,” and amendment relating

 back to the original filing, pursuant to Federal Rule of Civil Procedure 15, should be allowed in

 interest of justice.

 15.     Plaintiffs were damaged far in excess of $75,000 by Defendants’ tortious conduct.

 16.     During the time period when the abuse described herein occurred, Jane Doe 1 and Jane

 Doe 2 were minors, domiciled in the State of New York their parents.

 17.     The Fall River Diocese and Congregation of Sacred Hearts purposely availed itself to the




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 citizens of New York by intentionally targeting and enrolling boarding students from the State of

 New York, as evidenced by this excerpt from the Fairhaven Star (October 22, 1936):




 18.     Upon information and belief, Plaintiffs’ mother viewed leaflets and advertisements similar

 to below, in which the Fall River Diocese and Congregation of the Sacred Hearts represented

 Sacred Hearts Academy as a proper boarding school for citizens of New York, including minor

 Plaintiffs.

 19.     The advertisements Plaintiffs’ mother viewed were similar to the below, excerpted from

 an August 1957 publication of The Diocese of Fall River’s “Official Publication,” The Anchor:




 20.     An article in the Catholic Messenger described the “esteem in which Sacred Hearts




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 Academy [was] held throughout the country:”2

            Keen observers state that the school has a tradition of thoroughness and depth in
            scholarship, and is remarkable for the poise, quiet steadiness and solid piety which dignity,
            high ideals, fearlessness, it imparts to its students. The atmosphere of the school is home-
            like and affectionate, making the pupils feel that they are children of the houses.

 21.        The Fall River Diocese also publicly touted the “Good Citizenship Awards” its students

 regularly received and the school’s “top 10 scholastic ratings in the United States.”3

 22.        Only after viewing promotional material from the Fall River Diocese and the Congregation

 of the Sacred Hearts, Plaintiffs’ mother removed her daughters from St. Vincent De Paul—a

 Catholic school in Tarry Town, New York—and sent them to board at Sacred Hearts Academy in

 Fairhaven, Massachusetts.

 23.        The Diocese of Fall River also purposely availed itself to the State of New York as its

 leaders knew, or should have known, that its clergy members—including Father Porter—routinely

 accompanied minors entrusted in its care on retreats and weekend trips; upon information and

 belief, many of these retreats and weekend trips occurred in the state of New York.

 24.        The Oblates owned and operated retreat homes, parishes, and seminaries in Newburgh,

 New York and Essex, New York, where Plaintiffs were sexually abused by Oblate priests, and

 other clergy members.

 25.        The Oblates owned and operated retreat homes, parishes, and seminaries in Bucksport,

 Maine, and Bar Harbor, Maine, where Plaintiffs were sexually abused by Oblate priests, and other

 clergy members.

 26.        Priests under the Oblates’ direction and control were also intentionally shuffled around

 New York—where Plaintiffs were also sexually abused by Oblate priests, and other clergy



 2
     See Exhibit 1.
 3
     Id.


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 members. By way of example of the Oblates’ movements, in 1942, The Plattsburgh Daily Press

 reported:




 27.      In 1960, the Lowell Sun reported “Transfers Announced for 28 Franco-American Oblate

 Priests” to/from New York, Massachusetts, Maine, Connecticut, Rhode Island, New Hampshire,

 and Vermont.4

 28.      In 1961, the Lowell Sun reported “54 Changes of Personnel in Eastern Province of

 Oblates.”5

 29.      Oblate priests from New York, Maine, and other areas of the country often congregated in

 Massachusetts along with Grey Nuns, priests under the Fall River Diocese, and priests and nuns

 under the Congregation of the Sacred Hearts to attend funerals and religious ceremonies.6

 30.      Oblate priests, Grey Nuns, priests under the Fall River Diocese, and priests and nuns under

 the Congregation of the Sacred Hearts also traveled from Massachusetts to attend funerals and

 religious ceremonies in New York, Maine, Connecticut, Rhode Island, New Hampshire, and

 Vermont; upon information and belief, Plaintiffs were often transported by Defendants’ employees

 and agents to these events and sexually abused by Defendants’ employees and agents on


 4
   See Exhibit 2
 5
   Id.
 6
   Id.


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 Defendants’ premises.7

 31.      The Oblates are estopped from raising a statute of limitations defense in New York because

 they fraudulently concealed and covered up acts of child sexual abuse committed in the State of

 New York; Plaintiffs can also file a lawsuit to seek redress for the sexual abuse they were subjected

 to as children in the state of Maine against the Oblates—and all other Defendants—therefore, they

 are not prejudiced by being added to this lawsuit.8

 32.      The Grey Nuns purposefully availed themselves to the citizens of New York by unlawfully

 transporting, kidnapping, and conspiring with clergy under the Fall River Diocese, the

 Congregation of the Sacred Hearts, and the Oblates to unlawfully transport and kidnap Plaintiffs

 from their boarding school in Fairhaven, Massachusetts across state lines to orphanages, private

 residences, clergy-owned retreat homes, and seminaries in New York and Maine, where the Grey

 Nuns directly participated in and covered up acts of sexual abuse Jane Doe 1 and Jane Doe 2.

 33.      The Grey Nuns also operated orphanages, schools, and hospitals in New York and Maine—

 including an orphanage in Lewiston, Maine where many minors were abused.9

 34.      Venue is proper pursuant to 28 U.S.C. 1391(b) in that all or a substantial part of the events

 or omissions forming the basis of these claims occurred in the State of New York, which is within

 the jurisdiction of this Court.

                                       III.     FACTUAL ALLEGATIONS

 35.      The facts alleged herein show Defendants committed and conspired to commit heinous and

 continuous acts of child sexual abuse against Jane Doe 1 and Jane Doe 2 in the State of New York,




 7
   Id.
 8
   In June 2021, the state of Maine lifted the statute of limitations, enabling anyone who has experienced childhood
 sexual abuse in Maine to file a civil claim against their perpetrator, no matter how long ago the abuse occurred. See
 Me. Rev. Stat. tit. 14, § 752-C. See Exhibit 3.
 9
   See Exhibit 4.


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 while transporting Plaintiffs to/from New York, and continuing in the states of Maine and

 Massachusetts, among other states.

                A. Plaintiffs Were Born, Raised, and Sent to Sacred Hearts Academy From
                            Their Permanent Home in Brooklyn, New York.

 36.        Jane Doe 1 and Jane Doe 2 were born in Brooklyn, New York to a tightly-knit family of

 Cuban immigrants.

 37.        Although Plaintiffs’ family did not come from great financial means, they were surrounded

 by love and support during their first years of life in New York.

 38.        Plaintiffs recall many happy memories from their early childhood—celebrating holidays,

 gathering for family events, and spending time at the park with their mother.

 39.        Plaintiffs’ mother adamantly believed in investing in her daughters’ education, and she did

 everything in her power to send Jane Doe 1 and Jane Doe 2 to the best schools possible.

 40.        Before attending Sacred Hearts Academy, Jane Doe 1 and Jane Doe 2 attended St. Vincent

 De Paul—a Catholic school in Tarry Town, New York—for one year.

 41.        When Plaintiffs’ mother received promotional material from the Fall River Diocese that

 boasted of one of its boarding schools that promised to provide a homelike atmosphere, rigorous

 academics and promised to impart students with “poise, quiet steadiness . . . solid piety . . . dignity,

 high ideals, fearlessness,” she was convinced her daughters would receive an elite Catholic

 education.10

 42.        Consequently, Plaintiffs’ mother removed her daughters from St. Vincent De Paul and

 enrolled them in Sacred Hearts Academy in Fairhaven, Massachusetts, entrusting they would be

 properly supervised by Defendants’ spiritual guides and educators.

 43.        Because Plaintiffs’ family did not own a car—Plaintiffs’ mother did not even own a


 10
      See Exhibit 1.


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 driver’s license—Plaintiffs were transported to/from their home in Brooklyn, New York to/from

 Sacred Hearts Academy in Fairhaven, Massachusetts by nuns and priests under Defendants’

 direction and control.

 44.        Immediately after Plaintiffs arrived at Sacred Hearts Academy, they were subjected to their

 mother’s—and every mother’s—worst nightmare imaginable.

 45.        Jane Doe 1 and Jane Doe 2 were sexually molested hundreds of times on Defendants’

 premises and by clergy members under Defendants’ direction and control; Jane Doe 1 estimates

 they were taken to at least 30 to 40 locations of abuse.

          B. Plaintiffs Were Transported to and Sexually Abused at Seminaries in New York.

 46.        Jane Doe 1 and Jane Doe 2 were taken to the Oblates’ Seminary and Mission House in

 Essex, New York on weekend trips by Sacred Hearts Nuns and Grey Nuns at least ten (10) times.11

 47.        Both Jane Doe 1 and Jane Doe 2 recall being forced to kneel and pray in front of the statute

 at Our Lady of Hope Shrine, in Essex, New York.

 48.        Jane Doe 1 and Jane Doe 2 recall a “novice” Sacred Hearts Nun named Lori drove them to

 Essex, New York on many of these occasions, along with other Sacred Heart Nuns and Grey Nuns.

 49.        Jane Doe 1 recalls Lori and the other nuns would take Jane Doe 1 and Jane Doe 2 to one

 of the seminary’s cafeterias or a chapel; sometimes other children—who Jane Doe 1 and Jane Doe

 2 did not know—were also present.

 50.        By way of example, Jane Doe 1 recalls a young girl was present during one weekend trip

 during which Plaintiffs were sexually abused.

 51.        Jane Doe 1 and Jane Doe 2 recall a sense of dread when the priests entered; once the priests

 entered, the Sacred Hearts Nuns and Grey Nuns present would leave and pray elsewhere.



 11
      See Exhibit 2.


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  52.        From there, Jane Doe 1 and Jane Doe 2 were taken to a private room. Although there were

  other priests involved, Jane Doe 1 and Jane Doe 2 recall Arthur Craig was one of the Oblate priests

  who sexually molested them in Essex, New York.12

  53.        Arthur Craig was present the day the girls almost drowned, although no sexual abuse

  occurred on this day because the girls’ clothes were soaking wet—which enraged the Sacred Hearts

  Nuns and Grey Nuns present; Jane Doe 1 and Jane Doe 2 recall they were made to kneel for hours

  in front of the statute as punishment.

  54.        Upon information and belief, Arthur Craig sexually abused Jane Doe 1 and Jane Doe 2,

  beginning when Jane Doe 1 was approximately ten (10) years old, and Jane Doe 2 was

  approximately eight (8) years old; the sexual abuse with Arthur Craig included oral and vaginal

  penetration. Both Jane Doe 1 and Jane Doe 2 recall Arthur Craig’s piercing eyes, and he was

  aggressive but not as violent as some of the other priests.

  55.        Jane Doe 1 and Jane Doe 2 were also driven by Sacred Hearts Nuns and Grey Nuns to

  Newburgh, New York at least ten (10) times and hand delivered to Oblate priests in a similar

  fashion as described above.

                        C. Plaintiffs Were Transported to and Sexually Abused at
                               Clergy-Owned Residences in New York.

  56.        Upon information and belief, Jane Doe 1 and Jane Doe 2 were sexually abused by Father

  Porter under the Fall River Diocese at private residences and clergy-owned retreat homes in New

  York, in addition to the locations in Fairhaven described herein; the abuse included violent sexual

  touching, groping, and penetration.13

  57.        Upon information and belief, Plaintiffs were also repeatedly sexually assaulted by priests



  12
       See Exhibit 2.
  13
       See Exhibit 5.


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  under the Congregation of the Sacred Hearts, including Frederick Fury and Raymond Mahoney,

  at private residences and clergy-owned retreat homes in New York; the abuse included violent

  sexual touching, groping, and penetration.14

  58.        On many of the weekend trips, Jane Doe 1 recalls she was made to wear the same navy

  dress:

              D. Plaintiffs Were Transported to and Sexually Abused at Seminaries in Maine.

  59.        Jane Doe 1 and Jane Doe 2 were also by Sacred Hearts Nuns and Grey Nuns to an Oblate

  Seminary in Bucksport, Maine approximately five (5) to ten (10) times.15

  60.        Upon information and belief, Alphonse Breault was one of the worst predators that sexually

  molested Jane Doe 1 and Jane Doe 2 in Bucksport. Jane Doe 1 remembers Alphonse Breault would

  try to act “fatherly” towards the girls and take them on walks outside around the premises.

  61.        Then, Alphonse Breault would isolate the girls one-on-one; Jane Doe 1 recalls when she

  saw Alphonse Breault take Jane Doe 2 alone, she would often try to replace Jane Doe 2 and offer

  herself instead, but she was not always successful. Once Alphonse Breault had Jane Doe 1 or Jane

  Doe 2 alone, he would force them to perform oral sex and other sex acts on him.

          E. Plaintiffs Were Transported to and Sexually Abused at Many Other Known—and
                  Unknown—Locations in New York, Maine, Massachusetts, Connecticut,
                           Rhode Island, New Hampshire, and Vermont.

  62.        Jane Doe 1 and Jane Doe 2 were also sexually abused at many other known and unknown

  locations in New York, Maine, Massachusetts, Connecticut, Rhode Island, New Hampshire, and

  Vermont.

  63.        Jane Doe 1 estimates she and Jane Doe 2, were taken to 30 to 40 different abuse locations.



  14
       Id.
  15
       See Exhibit 2.


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  64.        Upon information and belief, Jane Doe 1 and Jane Doe 2 were sexually abuse by priests

  under the Diocese of Fall River, the Congregation of Sacred Hearts, and the Oblates in Fairhaven,

  Massachusetts—including on the premises of Sacred Hearts Academy, St. Joseph’s Orphanage,

  and The Provincial House.

  65.        In addition to hand delivering Jane Doe 1 and Jane Doe 2 to pedophile priests, Grey Nuns

  and Sacred Hearts Nuns were also directly involved in the incidents of abuse—shoving crucifixes

  into their vaginas as punishment and “sewing” the girls’ bodies back together after the incidents

  of abuse.

                         F. Defendants Controlled the Premises and Perpetrators
                                     Responsible for Plaintiffs’ Abuse.

                                       i.      The Fall River Diocese

  66.        Along with Defendant Congregation of the Sacred Hearts, the Fall River Diocese

  controlled Sacred Hearts Academy—in addition to orphanages and parishes, where Plaintiffs were

  subjected to repeated child sexual abuse.

  67.        In 1910, Fall River Bishop Feehan purchased “200 rods of land,” to build Sacred Hearts

  Academy, along with a rectory, and a novitiate.16

  68.        In 1911, Bishop Feehan “dedicated” Sacred Hearts Academy during a private ceremony,

  after a “new building” and addition to Sacred Hearts Academy was designed which purposefully

  included a kitchen, bath, and recreation rooms in the basement, and a rectory on the first floor.

  69.        On information and belief, many incidents of child sex abuse occurred in this specially

  designed basement and rectory, which was purchased, designed, and blessed by Fall River’s




  16
       See Exhibit 5.


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  Bishop—the Diocese’s highest leader.

  70.        Upon information and belief, Plaintiffs were sexually assaulted by priests under the control

  of the Fall River Diocese, including Father Porter, a known pedophile and sexual predator, who

  admitted to molesting over 100 young girls and boys at parishes and schools throughout the

  country.

  71.        Plaintiffs recall Father Porter would fill in for Father Carroll—the head priest at Sacred

  Hearts Academy—and other priests under the Congregation of Sacred Hearts assigned to perform

  mass, confessional, and other religious events at Sacred Hearts Academy.

  72.        On information and belief, the Porter family owned a residence on Main Street in

  Fairhaven, Massachusetts—just a few houses away from Sacred Hearts Academy.

  73.        The Fall River Diocese had notice Father Porter was a pedophile—before and during the

  time in which Plaintiffs were enrolled at Sacred Hearts Academy from 1964 to 1970.

  74.        By 1963, Fall River Diocese’s Chancellor, Father Humberto Medeiros, had received

  complaints from parents at Father Porter’s first assignment, St. Mary’s Church in North

  Attleborough; instead of removing Father Porter from ministry, Chancellor Medeiros moved

  Father Porter to Sacred Heart Parish in Fall River, Massachusetts.

  75.        Jane Doe 1 recalls that very soon after arriving to Fairhaven, Massachusetts in 1964,

  “James R. Porter, took her to the basement and forced anal sex on her.”17

  76.        Jane Doe 1 and Jane Doe 2 vividly remember bright lights and the flash of cameras blinding

  them after Father Porter and other pedophiles took photographs of their naked bodies.18

  77.        Father Porter would take both Jane Doe 1 and Jane Doe 2 on the weekends and proceed to


  17
       Jimmy Breslin, Chapter 7, The Church That Forgot Christ, Free Press, January 11, 2014, p. 79-88.
  18
       Id.


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  rape, digitally penetrate, and mandate the young girls performed oral sex on him; other times,

  Father Porter brought Jane Doe 1 and Jane Doe 2 to St. Joseph Orphanage to give other men oral

  sex while Father Porter watched; Father Porter called this a consequence for the girls’ “bad

  behavior.” Id.

  78.     Upon information and belief, Father Porter also brought Plaintiffs to private residences and

  clergy-owned retreat homes in New York, where Father Porter and other clergy members directly

  participated in and conspired to sexually abuse Plaintiffs, and to coverup the sexual abuse

  thereafter.

  79.     Jane Doe 1 vividly remembers “pain and fighting but she was held down. ‘[She] was always

  held down’” by Sacred Hearts Nuns and the Grey Nuns who were present.19

  80.     Plaintiffs were told by Sisters of the Congregation of the Sacred Hearts they needed to

  succumb to Father Porter’s sexual abuse because their mother had not submitted timely tuition

  payments.



                                ii.     The Congregation of the Sacred Hearts

  81.     Defendant Congregation of the Sacred Hearts of Jesus and Mary exercised ownership and

  control over the premises of Sacred Hearts Academy and The Provincial House in Fairhaven,

  Massachusetts where Plaintiffs were sexually abused.

  82.     The Congregation of the Sacred Hearts20 also controlled the Sacred Hearts priests and nuns

  named herein.21



  19
     Id.
  20
     In Latin: Congregatio Sacrorum Cordium Iesu et Mariæ necnon adorationis perpetuæ Ss. Sacramenti altaris;
  abbreviated SS.CC. See also Jane Doe’s redacted report card, attached as Exhibit 5.
  21
     The Congregation of the Sacred Hearts of Jesus and Mary is a community of some 1500 Brothers and Sisters who


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  83.      The Congregation of the Sacred Hearts had control over Father William Carroll (Father

  Carroll”), the head priest at Sacred Heart Academy, who allowed Defendants to commit rampant

  acts of child sex abuse against Plaintiffs and other minors in his care.

  84.      Upon information and belief, Father Carroll knew Plaintiffs were being horribly sexually

  abused by Father Porter and the other predatory priests named herein.

  85.      Jane Doe 1 recalls Father Carroll would often scold her and tell her she was a very bad girl

  and needed to pray for her many sins.

  86.      Father Carroll would also summon the nuns and a local doctor—the father of one of Jane

  Doe 1’s classmates—to provide medicine and stitches, as necessary, after the incidents of sexual

  abuse.

  87.      Upon information and belief, Father Carroll and Mother Superior, the head Sacred Hearts

  nun at the Academy, would allow Plaintiffs to remain in bed on Mondays after they returned from

  weekends of horrible sexual abuse in New York, Maine, and other states.

  88.      Plaintiffs were also repeatedly sexually assaulted by priests under the control of the

  Congregation of the Sacred Hearts, including Father Frederick Fury (“Father Fury”) and Father

  Raymond Mahoney (“Father Mahoney”), at Sacred Hearts Academy, St. Joseph’s Orphanage, and

  The Provincial House in Fairhaven, Massachusetts, as well as at private residences and clergy-

  owned retreat homes in New York.22

  89.      Nuns under the direction and control of the Congregation of the Sacred Hearts also directly

  committed and furthered acts of sexual abuse and violence against Plaintiffs.


  are present in more than 30 countries. The SS.CC. family also includes a Lay Branch associated with the Congregation.
  One of the best known members of our SS.CC. family is St Damien de Veuster, apostle of leprosy patients on the
  island of Molokai in Hawaii (retrieved from: https://www.sacred-hearts.net/congregation).
  22
     See Exhibit 5.


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  90.        Sister Ursula regularly injected Jane Doe 1 and Jane Doe 2 with Benadryl medicine to relax

  and sedate the girls before and after the incidents of abuse.

  91.        Sister Mary Felix regularly violated Jane Doe 1 and Jane Doe 2 by shoving a crucifix into

  their vaginas as a form of punishment.

  92.        In addition to the sexual abuse suffered by Jane Doe 1 and Jane Doe 2, they were also

  subjected to heinous forms of physical and mental abuse; by way of example, Mother Moffet told

  Jane Doe 1 and Jane Doe 2 that they “had the devil in [them],” and encouraged Sister Mary Felix

  and Sister Ursula to subject Jane Doe 1 and Jane Doe 2 to 200-step punishments, wherein the girls

  would be forced to walk 200 steps outside in the dark.23

  93.        Jane Doe 1 and Jane Doe 2 were also subjected to other physical punishments, such as

  being forced to stand outside in the cold in their pajamas until they repented for their “sins.”

  94.        The nuns named herein had direct knowledge of the atrocities Jane Doe 1 and Jane Doe 2

  endured, yet they directly participated in or stood by idly. In turning a blind eye, they were

  complicit in the cruelties that took place and conspired the priests and other pedophiles to coverup

  child sex abuse on a systemic level.

  95.        After Jane Doe 1 and Jane Doe 2 were sexually violated, the girls would not receive help

  or care; instead, a nun would “sew up the rips,” referring to injuries suffered at the hands of the

  priests and other pedophiles.24

  96.        During one incident of abuse involving Andrea Randolph, Plaintiffs’ dear friend and the

  only other black student who boarded with Plaintiffs, Andrea was crying, so to get her quiet, one




  23
       See Breslin, supra n. 16.
  24
       Id.


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  of the Nuns smacked Andrea and bashed her head against a post, leaving her with severe injuries

  that led to her death.25

  97.        After witnessing their dear friend Andrea’s murder, Plaintiffs were deeply traumatized;

  Jane Doe 1 became very ill and was likely experiencing a catatonic state of shock.

  98.        The Sacred Heart nuns informed Jane Doe 1’s family she was ill with rheumatic fever, and

  they transported Jane Doe 1 back to her mother’s home in Brooklyn, New York, where she

  remained for several months to recover.

  99.        Thereafter, the Sacred Heart nuns told Jane Doe 1’s mother Jane Doe 1 needed to make-up

  the coursework she had missed.

  100.       Jane Doe 1 was then driven from her family’s home in Brooklyn, New York by the Sacred

  Heart nuns and brought to Maine, where she was left at the home of a merchant named “Ralph,”

  who frequented St. Joseph’s Orphanage as well.

  101.       Jane Doe 1 was informed by the nuns that Ralph would instruct Jane Doe 1 in the subjects

  she missed when she was ill.

  102.       Once in Maine, Jane Doe 1 was held captive in Ralph’s attic and repeatedly sexually abused

  by Ralph throughout the summer.

                                               iii.    The Oblates

  103.       Plaintiffs were also sexually assaulted by priests under the control of the Oblates, including

  Father Arthur Craig and Father Alphonse Breault—among others—at seminaries and retreat

  homes owned by the Oblates—including locations in Essex, New York; Newburgh, New York;




  25
       Id.


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  Bucksport, Maine; and Bar Harbor, Maine.26

  104.       Upon information and belief, the Oblates were aware Father Craig and Father Breault were

  sexual predators before they molested Plaintiffs.

  105.       Oblate leaders had knowledge minors were being sexually assaulted at their seminaries;

  instead of taking action to prevent further abuse, leaders intentionally covered up the incidents of

  abuse.

  106.       Upon information and belief, a minor seminarian student, “T.C.,” was sexually assaulted

  by a member of the Oblates, Father Patrick Hollywood, at the Oblates’ seminary in Newburgh,

  New York in 1965.

  107.       After T.C. informed the Newburgh Seminary’s “Father Superior,” Father McSweeney, that

  T.C. had been sexually assaulted, instead of removing the priest from ministry and access to

  children, Father McSweeney intentionally covered up the incident and retaliated against the victim,

  who was Native American, calling the boy a “savage.”

  108.       If the Oblates’ leaders had taken action to stop pedophile priests under their direction in

  control at the Newburgh Seminary—as well as other seminaries in New York and Maine—the

  sexual abuse of Plaintiffs would not have occurred on the Oblates’ premises.

                                             iv.       The Grey Nuns

  109.       The Grey Nuns also directly participated in acts of sexual violence against Plaintiffs.

  110.       Along with the Fall River Diocese, the Grey Nuns operated St. Joseph’s Orphanage, in

  addition to other schools and parishes, where many of the incidents of sexual abuse occurred.27




  26
       See Exhibit 2.
  27
       See Exhibit 4.


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  111.       The Grey Nuns had knowledge and participated in acts of child sex abuse before Plaintiffs

  arrived in Fairhaven, Massachusetts in 1964.

  112.       Upon information and belief, minor orphans were being sexually abused by the Grey Nuns

  and transported by the Grey Nuns to orphanages, private residences, clergy-owned retreat homes,

  and seminary locations—where Jane Doe 1 and Jane Doe 2 were sexually abused—dating back to

  at least 1930.28

  113.       The Grey Nuns also controlled and operated an orphanage in Lewiston, Maine, where

  minors were subjected to horrible abuse.29

                                         IV.     CAUSES OF ACTION
                        COUNT ONE: NEGLIGENCE (Against All Defendants)

  114.       Plaintiffs incorporate all consistent paragraphs of this Complaint as if fully set forth

  under this count.

  115.       This cause of action is brought under New York law and Maine law, which are substantially

  similar with respect to the elements of a claim for negligence.

  116.       Schools, seminaries, and religious homes that accept the care and custody of are under a

  special duty of in loco parentis, which obligates them to exercise such care of their charges as a

  parent of ordinary prudence would observe in comparable circumstances.

  117.       By virtue of assuming physical custody and control over students and effectively taking

  the place of parents and guardians, schools must adequately supervise the students in their charge,

  and they will be held liable for foreseeable injuries proximately related to the absence of adequate




  28
       Id.
  29
       Id.


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  supervision—this especially holds true for boarding schools and orphanages, where minors are

  living on the premises.

  118.   The Fall River Diocese and Congregation of the Sacred Hearts owed students at Sacred

  Hearts Academy a duty to care for them and to stand in the shoes of their parents.

  119.   The Fall River Diocese and the Grey Nuns were likewise under a special duty of in loco

  parentis, which obligated them to care for minors on the premises of St. Joseph’s Orphanage in

  their care as a parent of ordinary prudence would observe in comparable circumstances.

  120.   The Oblates advertised their seminaries and retreat homes as safe spaces for minors and

  knowingly had minor seminary students on their premises, thus, they similarly owed minors a duty

  to care for them, and to protect them from foreseeable harms.

  121.   At all relevant times herein, Defendants held their institutions out to be safe places for

  religious worship, spiritual development and growth, learning and education, and engaging in

  youth and/or community activities.

  122.   At all relevant times herein, Defendants held its nuns and priests named herein to be

  spiritual guides and educators fit for supervising young children, like Plaintiffs.

  123.   Defendants accepted responsibility for the well-being of Plaintiffs as minor children.

  124.   Defendants explicitly and implicitly represented to Plaintiff, their parents, and the

  community, that all of their educators and staff members were benevolent and trustworthy

  stewards of the faith who would only act in the best interests of the children whom they served;

  Defendants breached this duty by allowing known pedophiles access to Plaintiffs on their

  premises.

  125.   Defendants had and/or assumed a duty to provide a reasonably safe environment for


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  Plaintiffs and assumed the duty to protect and care for them.

  126.   Pursuant to common law and the Restatement (Second) of Agency, § 219, the priests and

  nuns named herein were acting as Defendants’ agents and within the course and scope of their

  employment when the wrongful acts against Plaintiffs described herein were committed; they were

  acting as spiritual guides and educators of Plaintiffs, only able to sexually abuse Plaintiffs because

  of their job-created authority.

  127.   As such, Defendants are vicariously liable for the acts of their clergy members through the

  doctrine of respondeat superior, in addition to their direct liability described here and below.

  128.   Defendants knew, or should have known, that there was an unreasonable risk of harm to

  children in the care of Sacred Hearts Academy and St. Joseph’s Orphanage, to whom pedophile

  priests were provided access by Defendants.

  129.   Defendants knew that the Catholic schools and the Roman Catholic Church generally had

  a long history of employees and/or agents who had sexually molested children.

  130.   Defendants created a foreseeable risk of harm to Plaintiffs—who were foreseeable victims

  as boarding school students and minor parishioners entrusted to Defendants’ educators and

  spiritual leaders on Defendants’ premises.

  131.   Defendants owed a duty of care to all minor persons, including Plaintiffs, who were likely

  to come within the influence or supervision of their nuns and priests in their roles as spiritual

  guides, educators, employees, agents, and/or servants.

  132.   Pursuant to Restatement (Second) of Torts, § 317, Defendants had a duty, as masters of the

  nuns and priests named herein, to exercise reasonable care to control them while acting as spiritual

  guides and transporting minors to, from, and throughout the State of New York, during which time


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  sexual offenses were committed against Plaintiffs.

  133.   Defendants also had a duty to exercise reasonable care to control the nuns and priests on

  premises within their control and the accompanying grounds, even when acting outside the scope

  of their employment, and to prevent them from intentionally harming others, including Plaintiffs.

  134.   Defendants accepted responsibility for Plaintiffs’ care and well-being, while on their

  premises and under the direction and control of their educators and spiritual leaders.

  135.   As such, Defendants had a duty to provide the type of care required of one who requests to

  be entrusted with the responsibility of caring for children.

  136.   Defendants owed duties to Plaintiffs arising from the relationship akin or that of a child-

  parent/guardian, student-school, and/or parishioner-priest, and thus, Defendants were required and

  obligated to protect the children under their tutelage, including Plaintiffs.

  137.   Such duties include, but are not limited to, a duty to provide safe care, custody and control

  of minor children, including Plaintiffs, a duty to warn of and report to the proper authorities the

  deviant propensities of their clergy members, and ultimately to prevent sexual, physical, and

  mental abuse of all minors within their care, control and/or custody, including Plaintiffs.

  138.   The forcible sexual acts committed against Plaintiffs were performed in the course and

  scope of duties and authority delegated to the nuns and priests described herein by Defendants.

  139.   Defendants, their agents, employees, servants and licensees—including vicariously

  through the priests and nuns named herein—breached their duties of care owed to Plaintiffs;

  including, inter alia:

         a.      failing to investigate their background and/or history before placing them into close

         contact with minors, including Plaintiffs;


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         b.     failing to warn Plaintiffs and their parents of sexual misconduct committed by their

         clergy and/or the reasonably foreseeable risk of future harm, despite Defendants having

         actual or constructive knowledge their clergy members had sexually abusing children,

         having the propensity to sexually abuse children, and/or posing as a threat of sexual abuse

         to children;

         c.     permitting and/or directing their clergy members to have private contact with then

         minor Plaintiffs, despite having constructive or actual knowledge of Father Porter and the

         Nuns sexually abusing children, having a propensity to sexually abuse children, and/or

         posing as a threat of sexual abuse to children;

         d.     minimizing, ignoring and/or excusing the misconduct their clergy members as

         described herein, which allowed such conduct to continue;

         e.     failing to provide a safe environment to Plaintiffs within the academies,

         orphanages, churches, residencies, and rectories that they operated and/or owned;

         f.     failing to conduct a reasonable investigation of abuse complaints;

         g.     failing to create, institute, and/or enforce rules, policies, procedures, and/or

         regulations to identify and/or prevent the sexual abuse of children;

         h.     failing to create, institute, and/or enforce rules, policies, procedures, and/or

         regulations to prevent the sexual abuse of Plaintiffs; and

         i.     failing to exercise reasonable care to control of their clergy members to prevent the

         sexual abuse of Plaintiffs in their custody and care, and on their premises.

  140.   In the above ways, among others, Defendants failed to exercise the degree of care that a

  reasonably prudent person would have exercised under similar circumstances, thereby breaching


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  their duties owed to Plaintiffs.

  141.   As a direct and proximate result of the above mentioned breaches of duty by Defendants

  and their agents, servants, employees and/or others for whose acts or omissions they are

  responsible, and those whose identities are in the exclusive control of Defendants, Plaintiffs

  experienced and suffered from sexual abuse at the hands of Defendants, as well as the ensuing

  physical, mental, and financial injuries and damages discussed herein, which Plaintiffs still suffer.

  142.   As a direct and proximate result of Defendants’ foregoing acts and omissions, as de-

  scribed herein, Plaintiffs sustained both physical and emotional injuries, including, humiliation,

  embarrassment, loss of self-esteem, disgrace, guilt and shame; loss of faith and mistrust of the

  education system, figures of authority, and the Roman Catholic Church’s spiritual guides; injuries

  suffered at the time of the sexual abuse including physical pain and shock to the nervous system

  and emotional distress; severe mental anguish and trauma, necessitating psychiatric and medical

  care and treatment in the past, present and future; physical ailments, including, but not limited to

  grievous bodily pain and suffering, bleeding, headaches, nausea, mental anguish, anxiety and loss

  of sleep; and loss of earnings and earning capacity during those periods Plaintiffs were unable to

  work due to traumatization, and may in the future be unable to work.

  143.   Defendants’ acts and omissions were a foreseeable, direct, and proximate cause of

  Plaintiffs’ resulting injuries and damages therefrom.

  144.   By reason of the foregoing, Plaintiffs are entitled to recover all damages from Defendants.

           COUNT TWO: NEGLIGENT TRAINING/SUPERVISION/RETENTION
                            (Against All Defendants)

  145.   Plaintiffs incorporate all prior paragraphs of this Complaint as if fully set forth herein.




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  146.       This cause of action is brought under New York law and Maine law, which are substantially

  similar with respect to the elements of a claim for negligent training, retention, and supervision.

  The priests and nuns named herein were employed by Defendants and were under Defendants’

  direct supervision, employment, and control when they committed the wrongful acts alleged; they

  engaged in the wrongful conduct while acting in the course and scope of their employment with

  Defendants and/or accomplished the sexual abuse by virtue of their job-created authority.

  147.       Father Porter admitted he was able to sexually abuse over 100 children because he was

  “hiding behind the cloth.”30

  148.       Defendants, through their employees and agents, had a duty arising from their employment

  of the priests and nuns named herein, to ensure that they did not sexually molest and abuse children

  in their care and/or on their premises.

  149.       Defendants owed a duty to train and educate employees and administrators and establish

  adequate and effective policies and procedures calculated to detect, prevent, and address

  inappropriate behavior and conduct between its employees and the children under their care.

  150.       Defendants breached their duties to instruct, train and supervise their employees, in that

  Defendants failed to exercise the degree of care that a reasonably prudent person would have

  exercised under similar circumstances, including, inter alia:

             a.         failing to timely and properly educate, train, supervise, and/or monitor their agents

             or employees with regard to policies and procedures that should be followed when sexual

             abuse of a child is suspected or observed;




  30
       See Exhibit 6.


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         b.      failing to timely and properly educate, train, supervise, and/or monitor their agents

         or employees with regard to policies and procedures that should be followed to detect

         and/or prevent sexual abuse of a child;

         c.      failing to supervise, monitor, and/or investigate Father Porter and the Nuns in their

         interactions with children when Defendants knew or should have known that such

         supervision was necessary;

         d.      failing to train employees on rules, policies, procedures, and/or regulations to

         prevent the sexual abuse of Plaintiffs;

         e.      failing to properly supervise the priests and nuns named herein such that the

         opportunity for repeated, unfettered private access to Plaintiffs would not be available; and

         f.      failing to take reasonable steps to remove known predators from the types of duties

         and circumstances which allowed them the opportunity to continue sexually abusing

         minors, including Plaintiffs.

  151.   Defendants breached their legal duty of due care owed to Plaintiffs as boarding students of

  Sacred Hearts Academy entrusted in their care, custody, and supervision.

  152.   Defendants breached their duty in failing to adequately evaluate, and qualify the priests

  and nuns named herein, both pre- and post-hiring, and failed to monitor, supervise, influence,

  control, discipline, or discharge and/or report abusive priests and nuns to criminal authorities

  and/or parents or otherwise restrict their movement and/or activities to ensure the safety of the

  children of Sacred Hearts Academy, specifically Plaintiffs, in the ways discussed herein.

  153.   Defendants and their agents and/or employees, knew, or should have known, of the priests

  and nuns named herein deviant sexual proclivities, propensities, and/or criminal misconduct prior


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  to employing or placing them in positions of trust with minors.

  154.    Unfortunately, Defendants placed and maintained the priests and nuns named herein in

  positions of trust and control with access to children, which ultimately allowed them to access and

  harm Plaintiffs.

  155.    After placing the priests and nuns named herein, even with knowledge of abuse sustained

  by Plaintiffs, they then negligently retained them in positions where they had access to children

  and could foreseeably cause harm which Plaintiffs would not have been subjected to had

  Defendants exercised reasonable care.

  156.    In failing to timely remove the abusive priests and nuns named herein from working with

  children, Defendants failed to exercise the degree of care that a reasonably prudent person would

  have exercised under similar circumstances.

  157.    As a direct and proximate result of the foregoing acts and omissions by Defendants,

  Plaintiffs sustained serious injuries, as described above.

  158.    Defendants’ acts and omissions were a foreseeable, direct, and proximate cause of

  Plaintiffs’ resulting injuries and damages therefrom.

  159.    By reason of the foregoing, Plaintiffs are entitled to recover all damages from Defendants.

         COUNT THREE: GROSS NEGLIGENCE/PUNITIVE DAMAGES (Against All
                                Defendants)

  160.    Plaintiffs incorporate all prior paragraphs of this Complaint as if fully set forth herein.

  161.    This cause of action is brought under New York law and Maine law, which are substantially

  similar with respect to the elements of a claim for gross negligence and punitive damages.

  162.    “Gross negligence is conduct that evinces a reckless disregard for the rights of others or

  smacks of intentional wrongdoing.” C.Q. v. Estate of Rockefeller, No. 20-CV-2205 (VSB), 2021


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  WL 4942802, at *8 (quoting Am. Tel. & Tel. Co. v. City of New York, 83 F.3d 549, 556) (2d Cir.

  1996); see also Reliance Nat’l Indem. v. Knowles Indus. Services, Corp., 868 A.2d 220, 226 (Me.

  2005).

  163.     “Recklessness in the context of a gross negligence claim means an extreme departure from

  the standards of ordinary care, such that the danger was either known to the defendant or so obvious

  that the defendant must have been aware of it.” Id. (quoting Bayerische Landesbank v. Aladdin

  Capital Mgmt. LLC, 692 F.3d 42, 61 (2d Cir. 2012)).

  164.     Defendants’ conduct unquestionably smacks of intentional wrongdoing.

  165.     The Fall River Diocese was aware Fr. Porter had sexually assaulted minors in the past and

  posed a threat to minors in the Diocese’s schools, orphanages, and parishes and throughout the

  greater community; instead of removing Fr. Porter from ministry, the Fall River Diocese

  intentionally sent Father Porter out of Massachusetts to receive “treatment,” and then allowed Fr.

  Porter unfettered access to children when he returned.

  166.     Priests and nuns of the Congregation of the Sacred Hearts and the Grey Nuns recklessly

  disregarded the wellbeing of minors at Sacred Hearts Academy and St. Joseph’s Orphanage.

  167.     The Oblates also recklessly disregarded threats to minors within its retreat homes and

  seminaries, and the Order routinely shuffled priests throughout the Northeast at alarming rates.

  168.     Defendants’ acts and omissions, thus, were committed with reckless disregard for, and with

  willful, wanton, and conscious indifference to, the rights, safety, and welfare of children and the

  general public.

  169.     The nature of Defendants’ aforesaid wrongful acts and omissions were of such a nature as

  to constitute gross negligence and malice.

  170.     Defendants undertook a continuous course of action in the form of conscious decisions,




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  with subjective knowledge and awareness of the risks and hazards presented by each decision as

  discussed above and incorporated herein, to expose Plaintiffs and other minors to sexual abuse,

  without exercising slight care or diligence.

  171.    Defendants had a duty to exercise reasonable care in relation to the safety and welfare of

  their minor students and parishioners, including Plaintiffs.

  172.    Defendants had a duty to exercise reasonable care to avoid creating or maintaining

  unreasonable risks to the safety and welfare of the children enrolled in their school, including

  Plaintiffs.

  173.    Defendants had a duty to exercise reasonable care in investigating and pursuing complaints

  of criminal conduct, sexual misconduct, and violations of law against the children enrolled in their

  school, including Plaintiffs.

  174.    Upon information and belief, complaints were made and it was known to Defendants’

  leaders, agents, and employees that Sacred Hearts Academy boarding students, including

  Plaintiffs, were being sexually abused; by the time Jane Doe 1 completed eighth grade, there were

  only six students in her graduating class.

  175.    Without warning, Sacred Hearts Academy closed the following year, which is when

  Plaintiffs left Fairhaven and were sent back to Brooklyn, New York where they finished their

  academic studies.

  176.    In addition to the common law duty of ordinary care discussed above, and incorporated

  herein, Defendants also had a duty that arose because of, inter alia, a special relationship between

  the school and the minor students attending the school.

  177.    Defendants agreed to board, educate, care for, and keep safe the minor students in exchange

  for tuition, which Defendants accepted to fund and promote their school and initiatives.




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  178.   Defendants breached their duty of care by acting with reckless disregard of the safety and

  welfare of Plaintiffs and other innocent children by failing to properly investigate and report the

  known and tolerated pedophile activities of their educators/religious leaders, including those of

  Father Porter and the Nuns, and by placing its own personal interest in front of the safety of the

  children enrolled in their school, including Plaintiffs.

  179.   Defendants were more concerned with their reputations than protecting children, including

  Plaintiffs. Such conduct was, and is, wanton and willful, reckless, and conscious disregard of the

  safety of innocent children, including Plaintiffs.

  180.   Defendants’ foregoing acts and omissions, involved reckless disregard of or indifference

  to an extreme degree of physical, mental, and psychological risk and danger, considering the

  probability and the magnitude of the potential harm to others.

  181.   Defendants’ foregoing gross negligence was a foreseeable, direct, and proximate cause of

  the occurrence and Plaintiffs’ injuries and damages therefrom.

  182.   As a direct and proximate result of the Defendants’ acts and omissions, Plaintiffs suffered

  sexual abuse at the hands of Defendants’ priests and nuns, as well as the ensuing physical, mental,

  and financial injuries and damages discussed herein, which Plaintiffs continue to suffer, and

  Plaintiffs are entitled to recover their damages from Defendants.

                       COUNT FOUR: PREMISES LIABILITY (Against All Defendants)

  183.   Plaintiffs incorporate all prior paragraphs of this Complaint as if fully set forth herein.

  184.   This cause of action is brought under New York law and Maine law, which are substantially

  similar with respect to the elements of a claim for premises liability.

  185.   At all relevant times, Defendants owned, occupied, and controlled the premises described

  herein upon which Plaintiffs were sexually abused.




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  186.   Defendants provided inadequate security and supervision over the premises despite the

  existence of unreasonable risk of harm from abusive personnel at these premises.

  187.   At all relevant times, Plaintiffs were invitees on the academy, orphanage, seminary, parish,

  and retreat and clergy residences where they were assaulted.

  188.   The risk of harm was foreseeable, and Defendants knew or had reason to know that abuse

  of minors would occur given previous abuse, proximity of other abuse, the recency of other abuse,

  frequency of abuse, the similarity of other abuse, and their actual knowledge of this abuse by

  educators, spiritual guides, and other personnel Defendants’ academies, orphanages, seminaries,

  parishes, retreat and clergy residences.

  189.   The above acts and omissions by Defendants were a proximate cause of Plaintiffs’ injuries

  and the resulting damages Plaintiffs seek in this suit.

                           COUNT FIVE: BREACH OF FIDUCIARY DUTY
                 (Against Fall River Diocese and Congregation of Sacred Hearts)

  190.   Plaintiffs incorporate all prior paragraphs of this Complaint as if fully set forth herein.

  191.   This cause of action is brought under New York law and Maine law, which are substantially

  similar with respect to the elements of a claim for breach of fiduciary duty.

  192.   Plaintiffs were minors at all relevant times, and Defendants and their agents and employees

  were acting in loco parentis in charge of Plaintiffs’ wellbeing.

  193.   At all relevant times, Plaintiffs had a special relationship with Defendants, as they were

  boarding school students at an academy owned, maintained, controlled, and supervised by the Fall

  River Diocese and the Congregation of the Sacred Hearts.




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  194.      This relationship was rooted in a moral, social, religious, or personal relationship of trust

  and confidence between Plaintiffs and the Fall River Diocese and Congregation of the Sacred

  Hearts.

  195.      Defendants had a dominance over Plaintiffs, who were dependent on their control and

  Plaintiffs reasonably relied on leaders, employees, and agents from the Fall River Diocese and the

  Congregation of the Sacred Hearts to act in their best interest.

  196.      This special relationship gave rise to a fiduciary relationship.

  197.      Further, at all relevant times, Jane Doe 1 and Jane Doe 2 had a special relationship with

  Sacred Hearts Academy, and its leaders, employees, and agents, arising from the academy’s status

  as an educational and religious institution.

  198.      Entrusted with special privileges and immunities, the Fall River Diocese and Sacred Hearts

  Academy demanded complete loyalty, fealty, and trust from individuals like Jane Doe 1 and Jane

  Doe 2 and specifically instructed individuals like them, such that they are granted with special

  power to determine right and wrong.

  199.      Jane Doe 1 and Jane Doe 2 were taught that they must adhere to the teachings and

  instructions of their teachers and spiritual guides, and the failure to do so will result not just in

  discipline but also an offense against God.

  200.      This extreme power imbalance mandates that individuals like Jane Doe 1 and Jane Doe 2

  place an extreme degree of trust and confidence in the nuns and priests from the Fall River Diocese

  and the Congregation of the Sacred Hearts to determine what is in the best interest of individuals

  like them.




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  201.    This psychological power over Plaintiffs caused them to justifiably and indeed mandated

  that they rely on the commands of the Fall River Diocese and the Congregation of the Sacred

  Hearts, by and through their employees, educators, and spiritual leaders.

  202.    Given the existence of their status as fiduciaries over Jane Doe 1 and Jane Doe 2, the Fall

  River Diocese and the Congregation of the Sacred Hearts owed them the highest duty of care at

  law, including but not limited to: (1) duty of loyalty and utmost good faith; (2) duty of candor; and

  (3) duty to act with integrity of the strictest kind; and (4) duty of full disclosure.

  203.    The Fall River Diocese and the Congregation of the Sacred Hearts breached their fiduciary

  duties by, among others, hiding and keeping secret the fact that there were persons at the school to

  whom Jane Doe 1 and Jane Doe 2 would be subjected that engaged in sexual abuse of minors; by

  failing to disclose both before and after the events at issue in this case; their knowledge of the

  abuse and the abuser; by failing to disclose the policy of covering-up past incidents of abuse, and

  putting their interests ahead of students and victims like Jane Doe 1 and Jane Doe 2.

  204.    These breaches caused harm to Jane Doe 1 and Jane Doe 2 and other student victims like

  them and benefitted the Fall River Diocese and the Congregation of the Sacred Hearts—who

  sought to protect their reputation from public knowledge of the rampant misconduct occurring at

  its institutions.

  205.    The above acts and omissions by Defendants were a proximate cause of Plaintiffs’ injuries

  and the resulting damages Plaintiffs seek in this suit.

                          V.      PRAYER FOR RELIEF & JURY DEMAND

  206.    WHEREFORE, Plaintiffs pray for the following relief against Defendants:

          a. for Plaintiffs’ general and special damages in an amount to be proven at trial by jury;

          b. for Plaintiffs’ incurred costs together with interest at the highest lawful rate on the total

          amount of all sums awarded from the date of judgment until paid;


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         c. for the fair and reasonable monetary value of Plaintiff’s past, present, and future pain

         and suffering in an amount to be proven at trial by jury;

         d. for the medical expenses incurred up to the date of trial and any additional expenses

         necessary for future medical care and treatment;

         e. for economic damages in the form of out-of-pocket expenses, lost wage, earnings,

         employment opportunities, and other economic damages;

         f. for punitive damages or exemplary damages to be set by a jury in an amount sufficient

         to punish Defendants for their outrageous conduct and to discourage others from engaging

         in similar conduct in the future;

         g. for reasonable attorneys’ fees and costs, court costs, and litigation expenses;

         h. for pre-judgment and post-judgment interest pursuant to 28 U.S.C. § 1961 and any

         other applicable law or statute; and other litigation expenses; and

         i. for such other and further relief as this Court may deem just and proper.

  207.    Plaintiffs demand a trial by jury on all issues so triable.

                                                        Respectfully Submitted,


                                                        By:       /s/ Rob Rickner
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